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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


JANE DOE 1 and JANE DOE 2,

                        Plaintiffs,
                                                                  Civil Case No.
       v.                                                          1:23-cv-2145

SAAD EL-DIN RAFIK AL-HARIRI,                                      COMPLAINT
BAHAA HARIRI, AYMAN HARIRI,
MOHAMMED HARIRI,                                         Plaintiffs Demand aTrial by Jury
ALI H.KOLAGHASSI, and
HELEN CONLON,

                         Defendants.

       Plaintiffs JANE DOE 1 and JANE DOE 2 (hereinafter collectively referred to as

“Plaintiffs”) by and through their attorneys, DEREK SMITH LAW GROUP, PLLC, hereby

complain of Defendants SAAD EL-DIN RAFIK AL-HARIRI (hereinafter referred to as

“Defendant S. HARIRI”), BAHAA HARIRI (hereinafter referred to as “Defendant BAHAA”),

AYMAN HARIRI (hereinafter referred to as “Defendant AYMAN”), MOHAMMED HARIRI

(hereinafter referred to as “MOHAMMED”), ALI H.KOLAGHASSI (hereinafter referred to as

“KOLAGHASSI”) and HELEN CONLON (hereinafter referred to as “Defendant CONLON”)

(hereinafter collectively referred to as “Defendants”), upon information and belief as follows:

                               PRELIMINARY STATEMENT

       This case involves Defendant S. HARIRI’s brutal workplace rape of Plaintiff DOE 2,

and multiple instances of false imprisonment, sexual assault, and sexual harassment of both

Plaintiffs. Furthermore, it involves the intentional acts of Defendant S. HARIRI’s employees and

family members who aided and abetted Defendant S. HARIRI’s criminal acts. Defendant S.

HARIRI, Plaintiffs’ former boss at Saudi Oger, the airline that Defendant S. HARIRI owned,



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 sexually assaulted both Plaintiffs and subjected them to an atmosphere permeated with

 inappropriate sexual contact,coercion, harassment, and demands for sexual favors. Defendant S.

 HARIRI abused his position of authority in the airline for his own sexual gratification while

 repeatedly victimizing both Plaintiffs. Defendants BAHAA, AYMAN, MOHAMMED,

 KOLAGHASSI and CONLON knew that Defendant S. HARIRI engaged in the above-mentioned

 criminal behavior and facilitated this unlawful scheme. Moreover, Defendants BAHAA,

 AYMAN, MOHAMMED, KOLAGHASSI and CONLON took no action to prevent the

 aforementioned, but rather aided and abetted S. HARIRI’s criminal behavior.

                                       NATURE OF CASE

1. Plaintiffs are seeking declaratory relief and damages to redress the injuries Plaintiffs have

   suffered as a result of, inter alia, rape, sexual assault, sexual harassment, negligence, and aiding

   and abetting by Defendants.

2. Plaintiffs bring claims for assault and battery, intentional infliction of emotional distress,

   negligent infliction of emotional distress, Gender Motivated Violence Protection Act, and false

   imprisonment as claims revived under the Adult Victim’s Act.

3. Plaintiffs are seeking compensatory and punitive damages, attorney’s fees, and other

   appropriate legal and equitable relief pursuant to statutory law, common law, and such other

   relief as the Court deems necessary and proper.

                                VENUE AND REVIVED LAWS

4. Jurisdiction of this action is conferred upon this Court as this case involves a Federal Question

   under 49 U.S.C. §46506, which provides in relevant part: Application of certain criminal laws

   to acts on aircraft - An individual on an aircraft in the special aircraft jurisdiction of the United

   States who commits an act that-(1) if committed in the special maritime and territorial



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   jurisdiction of the United States (as defined in section 7 of title 18) would violate section 113,

   114, 661, 662, 1111, 1112, 1113, or 2111 or Chapter 109A of Title 18, shall be fined under title

   18, imprisoned under that section or chapter, or both.

5. 49 U.S.C. § 1405 states that: Included in the special aircraft jurisdiction of the United States,

   while "in flight," are the following: . . (d) any other (i.e., foreign) aircraft outside the United

   States which: (1) has its next scheduled destination or last point of departure in the United

   States if the aircraft does, in fact, next land in the United States.

6. Chapter 109A of Title 18 includes violations of 18 U.S. Code § 2241 for aggravated sexual

   abuse; § 2242. Sexual abuse § 2244; and abusive sexual contact.

7. A civil cause of action exists for violations of the above federal criminal statutes. See Chumney

   v Nixon, 615 F2d 389 [6th Cir 1980].

8. Moreover, when Congress fails to supply a statute of limitations for a federal cause of action,

   the courts “have generally concluded that Congress intended that the courts apply the most

   closely analogous statute of limitations under state law.” United Paperworks Int'l Local # 395

   v. ITT Rayonier, Inc., 931 F.2d 832, 834 (11th Cir.1991) (quoting Reed v. United Transp.

   Union, 488 U.S. 319, 323, 109 S.Ct. 621, 102 L.Ed.2d 665 (1989)).

9. This Court has supplemental jurisdiction over the related state law and local ordinance claims

   pursuant to 28 U.S.C. § 1367(a) because Plaintiff’s claims under New York law form part of

   the same case or controversy under Article III of the United States Constitution. Plaintiff’s state

   law claims share all common operative facts with Plaintiff’s federal law claims, and the parties

   are identical. The Court also has jurisdiction pursuant to 29 U.S.C. §2617; 28 U.S.C. §1331,

   §1343 and pendent jurisdiction thereto.




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10. This Court has jurisdiction over the action pursuant to New York Constitution, article VI, §

   7(a) and CPLR § 301.

11. Additionally, 28 U.S.C. §1331 states that “The district courts shall have original jurisdiction

   of all civil actions arising under the Constitution, laws, or treaties of the United States.”

12. Pursuant to 28 U.S.C. § 1391(b), venue is proper in the Eastern District of New York because

   as described further herein, a substantial part of the events or omissions giving rise to the claims

   herein occurred in Queens County, State of New York and within the Judicial District for the

   Eastern District of New York.

13. "The Constitution does not limit venue for in-flight federal crimes to the district sitting directly

   below a plane at the moment a crime was committed. Such in-flight crimes are covered by 18

   U.S.C. § 3237(a) and may be prosecuted in the flight's landing district." United States v Lozoya,

   982 F3d 648, 657 [9th Cir 2020].

14. "Although the case could be brought in state court—if the state could be identified—pursuant

   to the state's concurrent jurisdiction, special aircraft jurisdiction eliminates the difficulties that

   could arise in determining which state's airspace the plane occupied at the time of the incident.”

   United States v Moradi, 706 F Supp 2d 639, 644 [D Md 2010].

15. Neither Plaintiff nor Defendant are a resident of the State of New York. Venue is proper in

   Queens County pursuant to CPLR § 503(a) because a substantial part of the events or omissions

   giving rise to the claim occurred in Queens County, within the Eastern District of New York.

16. Venue is also appropriate because New York courts’ special trial parts are uniquely suited to

   hear Plaintiff’s complaint and provide Plaintiff trial preference as required under the Adult

   Survivor’s Act. These courts have heard thousands of Child Victim’s Act cases and are

   prepared to handle a matter of this kind.



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17. The most closely analogous statute of limitations under state law is New York’s “Adult

   Survivor’s Act” under Senate Bill S66A (hereinafter referred to as “ASA”), signed by New

   York Governor Kathy Hochul on May 24, 2022. The ASA extends the statute of limitations for

   civil rape cases in New York. The ASA allows survivors of sexual abuse to bring expired claims

   for one (1) year, beginning six (6) months after the effective date and ending one (1) year and

   six (6) months after the effective date.

18. The effective date of the law is May 24, 2022. Accordingly, Plaintiff files this complaint ten

   (10) months after the effective date but not more than one (1) year and six (6) months after the

   effective date.

19. Plaintiffs were the victims of one or more illegal sexual acts and Plaintiffs file this complaint

   also seeking leave to proceed anonymously under the pseudonym “Jane Doe,” asking this

   Court for permission to proceed using a pseudonym so as to protect their identity. Please see

   Doe v. Blue Cross & Blue Shield United of Wisc., 112 F.3d 869, 872 (7th Cir.1997) (“fictitious

   names are allowed when necessary to protect the privacy of ... rape victims, and other

   particularly vulnerable parties or witnesses”). Additionally, “the public generally has a strong

   interest in protecting the identities of sexual assault victims so that other victims will not be

   deterred from reporting such crimes.” Doe No. 2 v. Kolko, 242 F.R.D. 193, 195

   (E.D.N.Y.2006); see also Doe v. Evans, 202 F.R.D. 173, 176 (E.D.Pa.2001) (granting

   anonymity to sexual assault victim). Doe v Penzato, CV10-5154 MEJ, 2011 WL 1833007, at

   *3 [ND Cal May 13, 2011].




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                                           PARTIES

20. Plaintiffs, JANE DOE 1 and JANE DOE 2, are seeking damages to redress the injuries

   Plaintiffs have suffered as a result of, inter alia, rape, sexual assault, sexual harassment,

   negligence, and aiding and abetting, by Defendants.

21. Plaintiffs are sexual assault victims and are identified herein as JANE DOE 1&2.

22. Plaintiffs are individual women who are residents of Australia and Wales

23. At all times material, Defendant S. HARIRI was and is the owner and proprietor at Saudi Oger.

24. Moreover, Defendant S. HARIRI is a Lebanese-Saudi politician who served as the prime

   minister of Lebanon from 2009 to 2011 and again from 2016 to 2020.

25. At all times material, Defendant S. HARIRI employed Plaintiffs as Flight Attendants on his

   personal jet.

26. At all times material, Defendant S. HARIRI had supervisory authority over Plaintiffs regarding

   their employment.

27. At all times material, Defendant AYMAN was the Deputy General Manager of Saudi Oger.

28. At all times material, Defendant AYMAN had supervisory authority over Plaintiffs regarding

   their employment.

29. At all times material, Defendant BAHAA was employed by Saudi Oger in an upper

   management position.

30. At all times material, Defendant BAHAA had supervisory authority over Plaintiffs regarding

   their employment.

31. At all times material, Defendant MOHAMMED was employed by Saudi Oger in an upper

   management position.




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32. At all times material, Defendant MOHAMMED had supervisory authority over Plaintiffs

   regarding their employment.

33. Upon information and belief, S. HARIRI, BAHAA, MOHAMMED and AYMAN are all

   related.

34. At all times material, Defendant KOLAGHASSI was a Senior Vice President at Saudi Oger,

   as well as a Senior Advisor to Defendant S. HARIRI.

35. At all times material, KOLAGHASSI had supervisory authority over Plaintiffs regarding

   their employment.

36. At all times material, Defendant CONLON was employed by Defendant S. HARIRI and Saudi

   Oger as the Crew Manager on Defendant S. HARIRI’s aircrafts.

37. At all times material, Defendant CONLON held supervisory authority over Plaintiffs.

                 STATEMENT OF FACTS FOR PLAINTIFF JANE DOE 1

38. Plaintiff JANE DOE 1 (“DOE 1”) was hired by Saudi Oger in 2006.

39. Shortly after being hired by Saudi Oger, Plaintiff DOE 1 was assigned to work on Defendant

   S. HARIRI’s private aircraft.

40. Plaintiff DOE 1’s employment included accompanying Defendant S. HARIRI on international

   trips on his various aircraft.

41. These trips included Defendant S. HARIRI’S plane landing, or taking off from, John F.

   Kennedy Airport located in the County of Queens within the State of New York.

42. From the beginning of Plaintiff DOE 1’s employment, she experienced harassment and

   intimidation from many of the men onboard Defendant S. HARIRI's flights. These men often

   made sexually explicit comments about Plaintiff DOE 1 and her female colleagues'




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   appearances. These men also inappropriately touched and groped female staff members,

   including but not limited to Plaintiff DOE 1.

43. Plaintiff DOE 1 observed, on numerous occasions, Defendant S. HARIRI’s passengers

   drinking heavily and consuming cocaine while onboard Defendant S. HARIRI’s aircraft.

44. Defendant S. HARIRI himself, was often heavily medicated.

45. The use of illicit drugs and Defendant S. HARIRI’s medicated state, often exacerbated their

   inappropriate advances towards female staff.

46. Around 2006, almost immediately after DOE 1 began working on S. HARIRI’s aircraft,

   Plaintiff DOE 1 was sexually assaulted by Defendant S. HARIRI.

47. During a flight from Washington to New York, Plaintiff DOE 1 went alone to Defendant S.

   HARIRI's private bathroom, while it was unoccupied. Defendant S. HARIRI followed Plaintiff

   DOE 1 into the bathroom, which was a very small space, and told Plaintiff DOE 1 that he

   wanted to say "Hello.” Defendant S. HARIRI pushed Plaintiff DOE 1 up against the wall of

   the bathroom and attempted to kiss her by forcing his tongue inside of her mouth. Plaintiff

   DOE 1 made every effort to push him away and turned her head to one side. Defendant S.

   HARIRI blocked DOE 1’s exit and prevented her from exiting the bathroom. Plaintiff DOE 1

   eventually freed herself and went back into the cabin.

48. Plaintiff DOE 1 was significantly distressed and concerned that she was being targeted by

   Defendant S. HARIRI.

49. Shortly after, Plaintiff DOE 1 spoke to some of her colleagues about the sexual assault by

   Defendant S. HARIRI that occurred within the private bathroom.

50. Plaintiff DOE 1’s colleagues informed her that it was not uncommon for Defendant S. HARIRI

   to make unwanted sexual advances toward the female crew members.



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51. Defendant S. HARIRI's sexual advances persisted and occurred on nearly every flight which

   Plaintiff DOE 1 worked.

52. On another occasion, after landing in New York but while still on the aircraft, Defendant S.

   HARIRI approached Plaintiff DOE 1 from behind. Defendant S. HARIRI wrapped his arms

   around Plaintiff DOE 1 and forcefully grabbed her vagina. Defendant S. HARIRI whispered,

   “I like you. I’ll see you again, very soon.”

53. Plaintiff DOE 1 was terrified and suffered severe emotional distress as a result of Defendant

   S. HARIRI’s unwelcome sexual assault.

54. On many occasions while on the tarmac in New York, Defendant S. HARIRI approached

   Plaintiff DOE 1 from behind, while she was in the galley of the plane, and attempt to unzip her

   skirt and/or unbutton her blouse.

55. Plaintiff DOE 1 pushed Defendant S. HARIRI away and left the room before he was able to

   sexually assault her further.

56. In addition, on numerous occasions while in New York, Defendant S. HARIRI forcefully

   grabbed Plaintiff DOE 1’s waist and breasts.

57. Furthermore, on numerous occasions Plaintiff DOE 1 witnessed Defendant S. HARIRI

   forcefully grab other female colleagues’ waists and breasts during flights.

58. Plaintiff DOE 1 frequently observed other female colleagues emerge from Defendant S.

   HARIRI's bedroom looking disheveled and distressed. When Plaintiff DOE 1 spoke with these

   women, they told one another that they had been sexually assaulted by Defendant S. HARIRI.

59. Plaintiff DOE 1 spoke with her female colleagues regarding the above and was informed by

   the female colleagues that they had been sexually assaulted by Defendant S. HARIRI.




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60. On one occasion in 2009, Defendant S. HARIRI’s aircraft landed in Paris and was greeted by

   a welcome committee of other diplomats who waited on the tarmac. While the welcome

   committee waited for Defendant S. HARIRI to disembark, Plaintiff DOE 1 witnessed

   Defendant S. HARIRI emerge from the bathroom with her colleague, who looked distressed

   and on the verge of tears.

61. Plaintiff DOE 1’s colleague informed Plaintiff DOE 1 that she had just been sexually assaulted

   by Defendant S. HARIRI as he had forced her to perform oral sex on him in the cabin

   bathroom.

62. In 2009, Defendant S. HARIRI assaulted Plaintiff DOE 1 while on a flight to New York.

   Shortly before the plane landed, Defendant S. HARIRI asked Plaintiff DOE 1 to bring him a

   coffee in his bedroom.

63. Plaintiff DOE 1 felt uncomfortable with this but as requested, went to Defendant S. HARIRI's

   bedroom, and knocked on the door. Defendant S. HARIRI instructed Plaintiff DOE 1 to come

   into the room and close the door behind her.

64. When Plaintiff DOE 1 entered the room, Defendant S. HARIRI was seated on his bed wearing

   only a robe. Plaintiff DOE 1 observed, clearly, that Defendant S. HARIRI was naked

   underneath the garment as the robe was open and his genitals were exposed.

65. Plaintiff DOE 1 became fearful of being sexually assaulted.

66. Plaintiff DOE 1 quickly delivered the items as Defendant S. HARIRI had requested and

   attempted to leave the room. Defendant S. HARIRI forcefully grabbed Plaintiff DOE 1 by her

   blouse, ripping the buttons off, and pulled Plaintiff DOE 1 towards him. DOE 1, panicked and

   distressed by the unwelcome physical assault and sexual advance, pulled away from Defendant

   S. HARIRI.



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67. DOE 1 was able to free herself and ran out of the bedroom.

68. Thereafter, DOE 1 refused to go into Defendant S. HARIRI's bedroom alone with him.

69. During Plaintiff DOE 1’s employment at Saudi Oger, she attempted to speak out about the

   assaults perpetrated against her by Defendant S. HARIRI.

70. On numerous occasions, Plaintiff DOE 1 reported the incidents to Defendant CONLON, the

   Crew Manager for Saudi Oger, and Plaintiff DOE 1’s direct supervisor.

71. When DOE 1 reported the incidents to Defendant CONLON, Plaintiff DOE 1 was informed

   "[i]f you want to work in this company you are going to have to learn to suck some dick.”

   Plaintiff DOE 1 was appalled by Defendant CONLON’s lewd and egregious instruction.

72. Moreover, Defendant CONLON instructed Plaintiff DOE 1 that it was her job to give

   Defendant S. HARIRI anything he wanted, to keep quiet about the incidents of sexual assault,

   and if she was not able to do this, to look for another job.

73. Plaintiff DOE 1 further reported Defendant S. HARIRI’s criminal conduct to upper

   management of Saudi Oger, who were also Defendant HARIRI’s family members.

74. Specifically, Plaintiff DOE 1 reported Defendant S. HARIRI’s behavior on multiple occasions

   to Defendant AYMAN HARIRI, the Deputy General Manager of Saudi Oger, and Defendant

   MOHAMMED HARIRI the Senior Vice President of Saudi Oger.

75. Plaintiff DOE 1 submitted a written complaint to Saudi Oger’s Board of Directors (of which

   AYMAN, MOHAMMED, and KOLAGHASSI were all members) regarding S. HARIRI’s

   unwelcome sexual advances and sexual assaults.

76. In fact, AYMAN was fully aware that Defendant S. HARIRI raped, sexually assaulted, and

   sexually harassed his female aviation staff.




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77. Despite this knowledge AYMAN and MOHAMMED failed to take any action to stop

   Defendant S. HARIRI. Rather, AYMAN and MOHAMMED took affirmative steps to insulate

   themselves from being in Defendant S. HARIRI’s presence (i.e., they stopped flying on his

   planes).

78. As a result of BAHAA, AYMAN, KOLAGHASSI and MOHAMMED’s intentional acts of

   ignoring Plaintiff DOE 1’s complaints and Defendant S. HARIRI’s criminal behavior,

   Defendant S. HARIRI was able to continue to assault and harass DOE 1, as well as countless

   other female members of his aviation staff.

79. As a result of BAHAA, AYMAN, KOLAGHASSI and MOHAMMED’s blatant disregard for

   Plaintiff DOE 1’s complaints, Plaintiff DOE 1 did not have a viable outlet within the company

   through which to report the abuse.

80. Furthermore, Plaintiff DOE 1 feared the possible consequences to both her future employment

   and safety if she reported the abuse externally.

81. In fact, Plaintiff DOE 1 was forced to endure retaliation as a result of her opposition to

   Defendants’ unlawful conduct.

82. By way of example, and by no means, an exhaustive list, Plaintiff DOE 1 was forced to work

   three (3) straight months, without any time off, after she complained to Defendant CONLON

   about Defendant S. HARIRI’s criminal behavior.

83. Later in 2009, the final incident of sexual abuse perpetrated By Defendant S. HARIRI against

   Plaintiff DOE 1 took place on another flight from New York to Paris. On this occasion,

   Defendant S. HARIRI followed Plaintiff DOE 1 into the galley of the plane.




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84. While she was alone, Defendant S. HARIRI came up behind Plaintiff DOE 1 and forcefully

   put his hand underneath her skirt. Defendant S. HARIRI proceeded to grab and squeeze

   Plaintiff DOE 1’s vagina.

85. Notably, Defendant S. HARIRI penetrated Plaintiff DOE 1’s vagina with his finger.

86. Plaintiff DOE 1 was shocked, humiliated, distressed, and scared. Plaintiff DOE 1 pushed

   Defendant S. HARIRI away and quickly left the galley.

87. As a result of this incident, and the constant barrage of unwelcome sexual assaults and

   advances that had preceded it, Plaintiff DOE 1 decided that she could no longer continue to

   work at Saudi Oger.

88. Plaintiff DOE 1 resigned from her position with Saudi Oger around 2009 and did not fly on

   Defendant HARIRI's airline or work for Saudi Oger again.

89. Upon resigning, Plaintiff DOE 1 was informed by a member of the head office of Saudi Oger

   that she would not receive her final pay for the preceding month and in fact she did not.

90. Further, Defendant CONLON, called and informed Plaintiff DOE 1 that Saudi Oger would

   make sure that Plaintiff never worked again by blacklisting her within the aviation industry.

   Defendants also refused to provide Plaintiff DOE 1 a reference.

91. Upon information and belief, Defendants followed through on Defendant CONLON’s threats.

92. By way of example, and by no means an exhaustive list, Plaintiff DOE 1 was never given a

   reference.

93. By way of further example, after she was constructively discharged, Plaintiff DOE 1 applied

   for another job in the aviation industry.




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94. Upon information and belief, Plaintiff DOE 1 was not offered a position with that company

   due to the fact that Defendant CONLON, as Defendants instruction, had made false statements

   about Plaintiff DOE 1 when Defendant CONLON was called as a “reference.”

95. Plaintiff DOE 1’s claims damages for physical, psychological, and other injuries suffered by

   her as a result of the acts of Defendants.

96. Plaintiff DOE 1 also claims financial losses which are a direct and proximate result of the

   retaliation by the Defendants due to Plaintiff DOE 1’s opposition to Defendants unlawful

   conduct.

97. As described above, Plaintiff DOE 1 was forced to leave her employment, was not paid for her

   final month’s salary, was informed that she would be “blacklisted” from the industry and was

   not provided with a reference. This had, and continues to have, a negative impact on Plaintiff

   DOE’s employment and earning potential. Plaintiff DOE has not been employed full time since

   being constructively discharged from Saudi Oger.

                  STATEMENT OF FACTS FOR PLAINTIFF JANE DOE 2

98. Plaintiff DOE 2 began her employment at Saudi Oger around November 2006, at which time

   she worked on Defendant S. HARIRI’s stepmother’s aircraft; Madame Nazik Hariri

   (hereinafter “Madame HARIRI”).

99. In addition to Defendant S. HARIRI, BAHAA also subjected DOE 2 to unwelcome sexual

   advances.

100.   In or around 2006, BAHAA used the services of Saudi Oger to procure “two blondes,” as

   per his request, to accompany him on a flight. What was intended to be a short-term

   arrangement ended up turning into five (5) weeks. During this time, BAHAA made unwelcome




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   sexual comments to DOE 2. By way of example only, BAHAA made unwelcome sexual

   comments about DOE 2’s body.

101.   Around September 2007, while working on Madame HARIRI’s aircraft, Plaintiff DOE 2

   was informed that Defendant S. HARIRI would be using Madame HARIRI’s aircraft for a trip

   to Washington D.C., USA, for a state visit with President George W. Bush.

102.   Plaintiff DOE 2 was to work on the aircraft for this trip.

103.   This trip was the first time Plaintiff DOE 2 had met Defendant S. HARIRI and was also

   the first time he sexually assaulted her.

104.   The flight to Washington, D.C., took place at night and after Defendant S. HARIRI boarded

   the plane, he went to his bedroom and asked Plaintiff DOE 2 to bring him a bottle of water.

105.   When Plaintiff DOE 2 entered Defendant S. HARIRI's bedroom, he was already in bed and

   Plaintiff DOE 2 could see that he was naked, and his chest was exposed.

106.   Plaintiff DOE 2 passed the bottle of water to Defendant S. HARIRI while she attempted to

   keep her distance. Without warning, Defendant S. HARIRI lunged at Plaintiff DOE 2, violently

   grabbed her arm, and pulled her towards him.

107.   Defendant S. HARIRI grabbed Plaintiff DOE 2 with so much force that she fell onto the

   bed in a seated position. Plaintiff DOE 2 immediately attempted to stand; however, Defendant

   S. HARIRI maintained a forceful grip on Plaintiff DOE 2’s arm and demanded that she “tell

   him a story.”

108.   Plaintiff DOE 2 was overcome with fear and anxiety as she stammered through a

   conversation with Defendant S. HARIRI.

109.   As Plaintiff DOE 2 attempted to stand and exit the room, Defendant S. HARIRI instructed

   Plaintiff DOE 2 to kiss him goodnight. Plaintiff DOE 2 refused.



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110.   Defendant S. HARIRI became irate and forcefully pulled her towards him.

111.   Plaintiff DOE 2 feared for her safety and immediately pulled away, breaking Defendant S.

   HARIRI's grip on her arm, stood up, and swiftly left the room.

112.   During the flight back to Paris from Washington, D.C., Defendant S. HARIRI continued to

   make inappropriate and unwelcome sexual advances towards Plaintiff DOE 2.

113.   Once again, Defendant S. HARIRI instructed Plaintiff DOE 2 to bring him water in his

   bedroom. This time when Plaintiff DOE 2 entered the room, Defendant S. HARIRI was waiting

   by the door. Defendant S. HARIRI immediately shut the door after Plaintiff DOE 2 entered.

114.   Plaintiff DOE 2 felt a wave of anxiety as she anticipated that Defendant S. HARIRI would

   attempt to sexually assault her.

115.   Defendant S. HARIRI violently slammed Plaintiff DOE 2 against the bedroom wall, pinned

   her hands above her head, and forcefully kissed her. Defendant S. HARIRI forced his tongue

   into Plaintiff DOE 2's mouth and placed his left hand up her skirt. Defendant S. HARIRI

   forcefully rubbed Plaintiff DOE 2’s vagina very hard over her tights and underwear.

116.   Plaintiff DOE 2 tried to push Defendant S. HARIRI off but was unable to escape from

   Defendant S. HARIRI’s hold.

117.   Defendant S. HARIRI proceeded to rip Plaintiff DOE 2's tights to get under her underwear.

118.   Plaintiff DOE 2 panicked and managed to push Defendant S. HARIRI off her.

119.   Plaintiff DOE 2 then grabbed the door handle and ran out of the room.

120.   Plaintiff DOE 2 felt violated and humiliated by Defendant S. HARIRI’s unwelcome sexual

   assault.

121.   Plaintiff DOE 2 intentionally avoided Defendant S. HARIRI for the rest of the flight.




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122.   Upon landing, Defendant S. HARIRI left the aircraft without acknowledging Plaintiff DOE

   2 or what had happened.

123.   A few days after that flight, Plaintiff DOE 2 was informed that Defendant S. HARIRI had

   requested that she be moved to work on his aircraft as a permanent crew member.

124.   Plaintiff DOE 2 informed Defendant CONLON that she did not want to be moved and

   wished to never work on Defendant S. HARIRI’s aircraft ever again.

125.   Despite Plaintiff DOE 2’s pleas, Defendant CONLON informed Plaintiff DOE 2 that

   “nobody says no to [Defendant S. HARIRI] darling.”

126.   Against her wishes, Plaintiff DOE 2 was forced to continue to work on Defendant S.

   HARIRI’s aircraft.

127.   Immediately thereafter, she witnessed Defendant S. HARIRI assault other female crew

   members.

128.   On nearly every flight, Plaintiff DOE 2 was sexually assaulted by Defendant S. HARIRI

   in some manner.

129.   On one occasion, shortly after takeoff on a flight from New York to Washington, Defendant

   S. HARIRI demanded that Plaintiff DOE 2 bring him an espresso to his bedroom. Plaintiff

   DOE 2 requested that someone else bring him the espresso; however, she was told that

   Defendant S. HARIRI had requested her specifically.

130.   Upon entering the bedroom, Defendant S. HARIRI locked the door. Plaintiff DOE 2 was

   overcome by anxiety. Before she could turn to leave, Defendant S. HARIRI grabbed Plaintiff

   DOE 2 and forced her onto the bed. Defendant S. HARIRI began aggressively kissing Plaintiff

   DOE 2 while groping her breasts and vagina. Plaintiff DOE 2 attempted to resist and informed

   Defendant S. HARIRI to stop as she needed to return to work. Defendant S. HARIRI



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   disregarded Plaintiff DOE 2’s pleas and positioned himself on top of Plaintiff DOE 2, using

   his weight to prevent her from getting up.

131.   While on top of Plaintiff DOE 2, Defendant S. HARIRI pulled at Plaintiff DOE 2’s shirt

   and ripped her tights off. Defendant S. HARIRI violently and forcibly raped Plaintiff DOE 2.

   Moreover, Defendant S. HARIRI ejaculated inside of Plaintiff DOE 2. Upon information and

   belief, Defendant S. HARIRI was not wearing a condom. After raping Plaintiff DOE 2,

   Defendant S. HARIRI instructed Plaintiff DOE 2 to return to work – as if nothing happened.

   Plaintiff was distraught and in a state of shock.

132.   As Plaintiff DOE 2 emerged from Defendant S. HARIRI’s bedroom, her female supervisor,

   RENEE, instructed Plaintiff DOE 2 to take a ten minute break and change her tights. Plaintiff

   DOE 2 was appalled by Defendants’ conscious disregard for her well-being.

133.   After Plaintiff DOE 2 changed her clothes, Defendant S. HARIRI instructed Plaintiff DOE

   2 to massage his shoulders while he played cards with other passengers. Plaintiff DOE 2 felt

   demeaned and degraded.

134.   Plaintiff DOE 2 was also forced to witness Defendant S. HARIRI grab her female

   colleagues' buttocks and/or breasts, rip their blouses to expose their bras, and rub his genitals

   on the female staff as they passed him.

135.   Plaintiff DOE 2 also became aware that on almost, if not, every flight Defendant S.

   HARIRI asked one of the female crew to bring him water in his bedroom. Plaintiff DOE 2 was

   informed by her colleagues that upon doing so, as he had done with her, Defendant S. HARIRI

   forced himself on them, kissed and groped them.




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136.   In or around October 2008, DOE 1 (together with another female employee of Saudi Oger)

   complained in-person to Defendant KOLAGHASSI regarding S. HARIRI’s unwelcome sexual

   advances and sexual assaults.

137.   Despite her complaint, KOLAGHASSI failed to take any corrective or remedial action.

138.   One of the most serious incidents of sexual assault perpetrated by Defendant S. HARIRI

   against Plaintiff DOE 2 took place around Christmas time in 2008.

139.   The passengers on the flight had a Christmas party, for which for the female crew were

   required to dress in “sexy” Santa costumes purchased by Saudi Oger.

140.   During the party, the guests consumed copious amounts of alcohol. The female crew were

   also strongly encouraged to consume alcohol and/or narcotics, as they had been on many

   occasions before and after.

141.   Upon information and belief, Defendant S. HARIRI encouraged the consumption of such

   substances to make the female staff more willing to engage in sexual acts with him.

142.   Later in the evening, Defendant S. HARIRI ordered Plaintiff DOE 2 to bring him water to

   his bedroom.

143.   Once Plaintiff DOE 2 was in the room, Defendant S. HARIRI immediately shoved Plaintiff

   DOE 2 onto the bed. Defendant S. HARIRI then pinned Plaintiff DOE 2’s arms down on the

   bed, lifted her legs, ripped her tights, pulled her underwear to the side and forcefully penetrated

   her vagina with his penis.

144.   Plaintiff DOE 2 was shocked, humiliated, and felt extremely violated.

145.   Plaintiff DOE 2 was frozen in fear and did not move while Defendant S. HARIRI violently

   raped her. Defendant S. HARIRI ejaculated inside of Plaintiff DOE 2 and did not use a condom.




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   Plaintiff DOE 2 feared that Defendant S. HARIRI had infected her with a sexually transmitted

   disease and that she may become pregnant.

146.   Defendant S. HARIRI acted as if nothing had happened and got up to take a shower.

   Plaintiff DOE 2 immediately left the room and went back to her shift, still in shock and physical

   pain.

147.   As a result, Plaintiff DOE 2 was in a great deal of pain and was overcome by severe

   depression and anxiety.

148.   Defendant S. HARIRI’s egregious conduct dehumanized Plaintiff DOE 2 and shattered her

   confidence and trust in others.

149.   Plaintiff DOE 2 was raped on at least two more occasions by Defendant S. HARIRI.

150.   On one occasion, Defendant S. HARIRI also penetrated Plaintiff DOE 2 anally.

151.   On one occasion while flying from Washington to New York, after the plane had landed in

   New York Defendant S. HARIRI instructed Plaintiff DOE 2 to bring his coat into the bedroom.

   Again, once inside the bedroom Defendant S. HARIRI locked the door and forcefully pushed

   Plaintiff DOE 2 against the wardrobe. Defendant S. HARIRI began aggressively kissing

   Plaintiff DOE 2 and forcefully grabbed her vagina. Plaintiff DOE 2 whimpered, “Please stop.”

   Defendant S. HARIRI instructed Plaintiff DOE 2, “You are mine. I can do whatever I want.”

   Plaintiff DOE 2 informed Defendant S. HARIRI that she needed to leave as they were

   preparing to disembark the plane. Defendant S. HARIRI grabbed Plaintiff DOE 2 by the throat,

   choked her, and forcefully pressed her harder into the wardrobe. Defendant S. HARIRI said,

   “You’re not going anywhere,” and aggressively kissed Plaintiff DOE 2. Defendant S.

   HARIRI’s grip was so forceful that Plaintiff DOE 2 began struggling to breath and feared for

   her safety. As Plaintiff DOE 2 began gasping for air, Defendant S. HARIRI smirked with



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   twisted enjoyment as he relished in watching Plaintiff DOE 2 suffer. Finally, Defendant S.

   HARIRI released his grip of Plaintiff DOE 2’s throat and pushed her away. Plaintiff DOE 2

   was humiliated and began to cry.

152.   On another occasion, Defendant S. HARIRI sexually assaulted Plaintiff DOE 2 on

   Defendant BAHAA’s plane after taking off from John F. Kennedy Airport in New York.

153.   Specifically, Defendant S. HARIRI pushed Plaintiff DOE 2 into the bedroom and forced

   her to perform oral sex on him.

154.   Plaintiff DOE 2 attempted to resist but she was physically unable to do so.

155.   Plaintiff DOE 2 felt too afraid to fight back or to speak out about the sexual assaults and

   abuse, due the power Defendant S. HARIRI held, as both the Lebanese Prime Minister and as

   her employer.

156.   In July 2009 Defendant S. HARIRI sexually assaulted Plaintiff DOE 2 on a flight from

   London, while the plane was on the runway at London’s Luton Airport.

157.   Defendant S. HARIRI was angry with Plaintiff DOE 2 on the flight, due to a false tabloid

   story concerning her and a male celebrity.

158.   When Defendant S. HARIRI boarded the flight, he demanded that Plaintiff DOE 2 speak

   with him in his bedroom immediately.

159.   When Plaintiff DOE 2 entered the bedroom, Defendant S. HARIRI shut the door, forcefully

   grabbed Plaintiff DOE 2 by her throat and violently slammed Plaintiff DOE 2 against the wall

   by her throat. Defendant S. HARIRI proceeded to forcefully grab Plaintiff DOE 2’s vagina

   with his other hand. Defendant S. HARIRI angrily asked Plaintiff DOE 2, "[w]hat the fuck

   were you doing with him?!" and "[d]id you fuck him?!" Plaintiff DOE 2 informed Defendant

   S. HARIRI that the story had been made up.



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160.   Defendant S. HARIRI then shoved his tongue into Plaintiff’s DOE 2’s mouth and rubbed

   his erect penis against her crotch area. Plaintiff DOE 2 tried to push Defendant S. HARIRI off

   and demanded that he stop. Defendant S. HARIRI refused and pushed Plaintiff DOE 2 even

   harder against the wall. Defendant S. HARIRI did not permit DOE 2 to exit the bedroom.

161.   Defendant S. HARIRI only stopped when another crew member knocked on the door to

   tell him that they needed to prepare for departure. Defendant S. HARIRI then loosened his grip

   and Plaintiff DOE 2 immediately left the room. After the flight, Plaintiff DOE 2’s female

   colleague, informed Plaintiff DOE 2 that she too had been sexually assaulted by Defendant S.

   HARIRI during the flight.

162.   Around 2010, Plaintiff DOE 2 was told by Defendant CONLON, without any warning or

   just cause, that she had been fired from Saudi Oger.

163.   Notably, Defendants terminated DOE 2 mere hours after she had requested to spend

   Christmas with her then boyfriend.

164.   After her unlawful termination from Saudi Oger, Plaintiff DOE 2 was offered a job trial

   with another aviation company on one of their planes. Shortly before her trial was to begin,

   Plaintiff DOE 2 was abruptly notified that it was cancelled.

165.   Upon information and belief, Defendant CONLON, at the instruction of Defendants, gave

   false information to the trial company in order to prevent Plaintiff DOE 2 from working in the

   aviation industry.

            STATEMENT OF FACTS RELATED TO BOTH PLAINTIFFS

166.   Plaintiffs, and other female staff, were both, on numerous occasions, weighed by Defendant

   CONLON. Upon information and belief, this was done at the instruction of Defendants to

   ensure that the women remained “physically attractive.”



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167.   Defendant S. HARIRI and Defendant CONLON, on multiple occasions, made comments

   about various female aviation staff’s weight or size. This included but is not limited to referring

   to female staff as “fat.” These comments were degrading and humiliating.

168.   Defendant S. HARIRI and Defendant CONLON also often suggested or demanded that

   Plaintiffs and other female staff get plastic surgery.

169.   Defendant S. HARIRI prohibited his female aviation staff from having boyfriends. Upon

   information and belief, Defendant S. HARIRI believed that if they had boyfriends, they would

   be less willing to engage in sexual relations with him.

170.   While in New York, Defendant S. HARIRI, throughout the course of Plaintiffs’

   employment with Saudi Oger, sent sexually explicit text messages to Plaintiffs and requested

   that the engage in “phone sex” via text and/or send him “sexy” and nude photos. On several

   occasions Defendant S. HARIRI requested that Plaintiffs meet up with him at his hotel.

171.   At first, Plaintiffs attempted to decline Defendant S. HARIRI’s requests. However,

   immediately after they declined to engage with him, they noticed that Defendant S. HARIRI’s

   sexual assaults intensified, and Defendant S. HARIRI became physically violent with them.

   As such, Plaintiffs reluctantly began to engage and comply with Defendant S. HARIRI’s

   requests for text messages.

172.   Plaintiffs received these text messages during their time off and while they worked. This

   included when they were in New York overnight after having flown with Defendant S. HARIRI

   on his aircraft.

173.   Plaintiffs, over the course of their employment, noticed that Defendant S. HARIRI

   prohibited male aviation crew to work on his aircraft. The few times that a male had to work

   on the aircraft, they were regulated to the galley and were not permitted to enter the cabin area.



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174.   Once Defendant S. HARIRI’s aircraft landed, but prior to disembarking from his aircraft,

   throughout the course of their employment, Defendant S. HARIRI required Plaintiffs (and

   other female aviation staff) to line up and kiss Defendant S. HARIRI before disembarking the

   aircraft.

175.   Additionally, Defendants’ female aviation staff’s phones were tapped so that their location

   was known at all times and their messages could be read.

176.   Plaintiffs throughout their employment with Saudi Oger, were required to submit to routine

   STD testing.

177.   Upon information and belief, this was so that S. HARIRI could sexually assault Saudi

   Oger’s female staff without fear of contracting a sexually transmitted disease.

178.   On many, if not all, of the flights that Plaintiffs worked, there were an inadequate number

   of seats in which the aircrafts crew members could secure themselves.

179.   This caused Plaintiffs to be fearful for their safety and lives.

180.   Furthermore, on a number of occasions, Plaintiffs were required to staff a “decoy” plane.

181.   Upon information and belief, S. HARIRI flew on a different plane and had a staffed plane

   fly somewhere else as a decoy to protect himself.

182.   This put Plaintiffs, and other Saudi Oger staff members, lives at risk and caused them

   substantial fear and emotional distress.

183.   The above are just some of the examples of unlawful conduct to which the Defendants

   subjected Plaintiffs to on an ongoing and continuous basis.

184.   As a result of Defendants’ actions against Plaintiffs, Defendants caused Plaintiffs to be

   physically violated, humiliated, degraded, victimized, embarrassed, and emotionally

   distressed.



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185.   As a result of Defendant S. HARIRI’s rapes, sexual assaults, false imprisonments, sexual

   harassment, and negligence, Plaintiffs have suffered and continue to suffer numerous physical

   and mental ailments including, but not limited to Post-Traumatic Stress Disorder, Major

   Depressive Disorder, Acute Anxiety Disorder, and panic attacks. Plaintiff DOE 2, as a result

   of Defendant S. HARIRI’s conduct suffered from Colitis flare-ups.

186.   Moreover, as a result of Defendants BAHAA, AYMAN, MOHAMMED, KOLAGHASSI

   and CONLON’s conduct, whom knowingly and intentionally aided and abetted Defendant S.

   HARIRI’s criminal acts, Plaintiffs have suffered and continue to suffer numerous physical and

   mental ailments including, but not limited to Post-Traumatic Stress Disorder, Major Depressive

   Disorder, Acute Anxiety Disorder, panic attacks, and trust issues.

187.   Plaintiffs claim a continuous practice of discrimination and claim a continuing violation

   and makes all claims herein under the continuing violations doctrine.

188.   At all times material, Defendants acted with deliberate indifference to the unlawful conduct

   Plaintiffs were subjected to.

189.   As a result of Defendants’ continued unlawful and egregious acts perpetrated against

   Plaintiffs, they suffered numerous injuries including physical, economic, and emotional

   damages.

190.   As a result of the acts and conduct complained of herein, Plaintiffs have suffered and will

   continue to suffer the loss of income, the loss of wages, benefits and other compensation, which

   such employment entails. Plaintiffs have also suffered future pecuniary losses, emotional pain,

   suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.




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191.   As Defendants’ conduct has been malicious, reckless, willful, outrageous, and conducted

   with full knowledge of the law, Plaintiffs demand punitive damages be imposed on the

   Defendants, jointly and severally.

192.   Defendants’ actions constituted a continuing violation of the applicable federal and state

   laws.

                           AS A FIRST CAUSE OF ACTION
            FOR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                  (asserted by Plaintiffs against Defendant S. HARIRI)

193.   Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

194.   Defendants’ behavior was extreme and outrageous to such extent that the action was

   atrocious and intolerable in a civilized society.

195.   Defendants’ conduct was so outrageous in character and extreme in degree as to go beyond

   all possible bounds of decency.

196.   Defendants caused Plaintiffs to fear for their own safety.

197.   Defendants’ breach of their duties to Plaintiffs caused them to suffer numerous injuries as

   set forth herein.

198.   As a result of Defendants’ acts, Plaintiffs have been damaged in an amount to be

   determined at the time of trial.

                          AS A SECOND CAUSE OF ACTION
             FOR GENDER MOTIVATED VIOLENCE PROTECTION ACT
                  (asserted by Plaintiffs against Defendant S. HARIRI)

199.   Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

200.   N.Y. ADC. LAW § 8-903 states in relevant part “For purposes of this chapter:



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   a. "Crime of violence" means an act or series of acts that would constitute a misdemeanor or

   felony against the person as defined in state or federal law or that would constitute a

   misdemeanor or felony against property as defined in state or federal law if the conduct

   presents a serious risk of physical injury to another, whether or not those acts have actually

   resulted in criminal charges, prosecution, or conviction.

   b. "Crime of violence motivated by gender" means a crime of violence committed because of

   gender or on the basis of gender, and due, at least in part, to an animus based on the victim's

   gender.

201.   N.Y. ADC. LAW § 8-904 : NY Code – Section 8-904: Civil Cause of Action states in

   relevant part “Except as otherwise provided by law, any person claiming to be injured by an

   individual who commits a crime of violence motivated by gender as defined in section 8-903

   of this chapter, shall have a cause of action against such individual in any court of competent

   jurisdiction for any or all of the following relief: 1. compensatory and punitive damages; 2.

   injunctive and declaratory relief; 3. attorneys' fees and costs; 4. such other relief as a court may

   deem appropriate.”

202.   Defendant S. HARIRI’s conduct constitutes crimes of “violence motivated by gender”

   under The Victims of Gender-Motivated Violence Protection Act (“VGMVPA”).

203.   As a result of Defendant S. HARIRI’s acts, Plaintiffs have been damaged in an amount to

   be determined at the time of trial.

                           AS A THIRD CAUSE OF ACTION
                            FOR ASSAULT AND BATTERY
                         (AGAINST DEFENDANT S. HARIRI)

204.   Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.



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205.   The aforesaid occurrences and resultant injuries to Plaintiffs were caused by reason of the

   intent, carelessness and recklessness of Defendant S. HARIRI, did suddenly and without

   provocation, did physically rape, assault and batter Plaintiffs, herein causing Plaintiffs to

   sustain damages; in that Defendant S. HARIRI did conduct himself in a wanton, willful,

   reckless and heedless manner without regard to the safety of the Plaintiffs herein; in that said

   Defendant was physically abusive; in behaving in a disorderly manner; in using unnecessary,

   excessive and unlawful touching against the plaintiff; in willfully and maliciously assaulting

   and battering the Plaintiff herein.

206.   § 214-j of the Civil Practice Law and Rules provides as follows: certain sexual offense

   actions. Every civil claim or cause of action brought against any party alleging intentional or

   negligent acts or omissions by a person for physical, psychological, or other injury or condition

   suffered as a result of conduct which would constitute a sexual offense as defined in article one

   hundred thirty of the penal law committed against such person who was eighteen years of age

   or older, […] which is barred as of the effective date of this section because the applicable

   period of limitation has expired, […] is hereby revived, and action thereon may be commenced

   not earlier than six months after, and not later than one year and six months after the effective

   date of this section. In any such claim or action, dismissal of a previous action, ordered before

   the effective date of this section, on grounds that such previous action was time barred, and/or

   for failure of a party to file a notice of claim or a notice of intention to file a claim, shall not be

   grounds for dismissal of a revival action pursuant to this section.

207.   As a result of Defendant S. HARIRI’s acts of assault and battery, Plaintiffs have been

   damaged in an amount to be determined at the time of trial.




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                   AS A FOURTH CAUSE OF ACTION
          FOR NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                     (AGAINST ALL DEFENDANTS)

208.   Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

209.   Defendants’ behavior was extreme and outrageous to such extent that the action was

   atrocious and intolerable in a civilized society.

210.   Defendants had a duty of care to Plaintiffs to not assault or rape them during the course of

   their employment.

211.   Defendants violated that duty.

212.   Defendants’ breach of duty caused Plaintiffs to suffer numerous injuries as set forth herein.

213.   As a result of Defendants’ acts, Plaintiffs have been damaged in an amount to be

   determined at the time of trial.

                            AS A FIFTH CAUSE OF ACTION
                             FOR FALSE IMPRISONMENT
                          (AGAINST DEFENDANT S. HARIRI)

214.   Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

215.   Defendant S. HARIRI detained Plaintiffs for a long period of time.

216.   Defendant S. HARIRI detained Plaintiffs with the express purpose of engaging in

   unwanted and unwelcome sexual activity with Plaintiffs.

217.   Defendant S. HARIRI’s detainment of Plaintiffs was without Plaintiffs’ consent.

218.   Defendant S. HARIRI’s detainment of Plaintiffs was unlawful because he utilized the

   detainment to sexually assault them.




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                                AS A SIXTH CAUSE OF ACTION
                                   FOR AIDING & ABETTING
                                UNDER NEW YORK STATE LAW
                           (asserted by Plaintiffs against all Defendants)

219.   Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

220.   New York State Executive Law §296(6) further provides that “It shall be an unlawful

   discriminatory practice for any person to aid, abet, incite, compel or coerce the doing of any

   of the acts forbidden under this article, or to attempt to do so.”

221.   Defendants engaged in an unlawful discriminatory practice by aiding, abetting, compelling

   and/or coercing the discriminatory behavior as stated herein.

                              AS A SEVENTH CAUSE OF ACTION
                                       FOR RETALIATION
                                UNDER NEW YORK STATE LAW
                          (asserted by Plaintiffs against ALL Defendants)

222.   Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

223.   New York State Executive Law § 296(7) provides that it shall be an unlawful

   discriminatory practice: “For any person engaged in any activity to which this section applies

   to retaliate or discriminate against any person because he has opposed any practices forbidden

   under this article.”

224.   Defendants engaged in an unlawful discriminatory practice by retaliating against Plaintiffs

   with respect to the terms, conditions or privileges of their employment because of their

   opposition to the unlawful employment practices of Defendants.

225.   Defendants violated the above and Plaintiffs suffered numerous damages as a result.




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                        AS AN EIGHTH CAUSE OFACTION
                               FOR DISCRIMINATION
               UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
                    (asserted by Plaintiffs against ALL Defendants)

226.   Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.

227.   The Administrative Code of City of NY § 8-107 [1] provides that "It shall be an unlawful

   discriminatory practice: "(a) For an employer or an employee or agent thereof, because of the

   actual or perceived age, race, creed, color, national origin, gender, disability, marital status,

   sexual orientation or alienate or citizenship status of any person, to refuse to hire or employ or

   to bar or to discharge from employment such person or to discriminate against such person in

   compensation or in terms, conditions or privileges of employment."

228.   Defendants engaged in an unlawful discriminatory practice in violation of New York City

   Administrative Code Title 8, by creating and maintaining discriminatory working conditions

   and a hostile work environment, and otherwise discriminating against the Plaintiffs because of

   their sex/gender.

229.   Plaintiffs hereby make a claim against Defendants under all of the applicable paragraphs

   of New York City Administrative Code Title 8.

230.   Defendants violated the above and Plaintiffs suffered numerous damages as a result.

                          AS A NINTH CAUSE OF ACTION
                            FOR AIDING AND ABETTING
               UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
                    (asserted by Plaintiffs against ALL Defendants)

231.   Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

   paragraphs of this Complaint as if more fully set forth herein at length.




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232.    The New York City Administrative Code Title 8, §8-107(6) provides that it shall be

    unlawful discriminatory practice: "For any person to aid, abet, incite, compel or coerce the

    doing of any of the acts forbidden under this chapter, or attempt to do so."

233.    Defendants engaged in an unlawful discriminatory practice in violation of New York City

    Administrative Code Title 8, §8-107(6) by aiding, abetting, inciting, compelling and coercing

    the above discriminatory, unlawful and retaliatory conduct.

234.    Defendants violated the above and Plaintiffs suffered numerous damages as a result.

                           AS A TENTH CAUSE OF ACTION
                                FOR DISCRIMINATION
                UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
                     (asserted by Plaintiffs against ALL Defendants)

235.    Plaintiffs repeat, reiterate and reallege each and every allegation made in the above

    paragraphs of this Complaint as if more fully set forth herein at length.

236.    Section 8-107(19), entitled Interference with protected rights provides that:

    “It shall be an unlawful discriminatory practice for any person to coerce, intimidate, threaten

    or interfere with, or attempt to coerce, intimidate, threaten or interfere with, any person in the

    exercise or enjoyment of, or on account of his or her having aided or encouraged any other

    person in the exercise or enjoyment of, any right granted or protected pursuant to this section.”

237.    Defendants violated the above section as set forth herein and Plaintiffs suffered numerous

    damages as a result.

        WHEREFORE, Plaintiffs respectfully requests that this Court enter judgment in an

amount which exceeds the jurisdiction of all lower courts for all damages including but not limited

to compensatory damages, punitive damages, statutory damages, attorney’s fees, costs, interest and

all other damages as are just and proper to remedy Defendant’s unlawful sexual abuse and rape of

Plaintiffs.


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                                        JURY DEMAND
       Plaintiff demands a trial by jury as to all issues so triable. Plaintiff is entitled to trial

preference in accordance with 219-e.


                            DEMAND TO PRESERVE EVIDENCE

       The Defendants are hereby demanded to preserve all physical and electronic information

 pertaining in any way to Plaintiffs’ employment, to their claims and their claims to damages, to

 any defenses to same, including, but not limited to electronic data storage, employment files,

 files, memos, job descriptions, text messages, e-mails, spreadsheets, images, cache memory,

 payroll records, paystubs, time records, timesheets, and any other information and/or data which

 may be relevant to any claim or defense in this litigation.


Dated: March 20, 2023
       New York, New York

                                                         DEREK SMITH LAW GROUP, PLLC
                                                         Attorneys for Plaintiffs


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